         Case 1:16-cr-10343-ADB Document 311 Filed 05/21/18 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                )
 UNITED STATES OF AMERICA                       )
                                                )
       v.                                       )       Criminal No. 16-CR-10343-ADB
                                                )
 MICHAEL L. BABICH et al.,                      )       ORAL ARGUMENT REQUESTED
                                                )
       Defendants.
                                                )

    DEFENDANTS’ MOTION FOR AN ORDER REQUIRING THE GOVERNMENT
               TO PRODUCE EXCULPATORY MATERIAL IN
        THE POSSESSION OF SISTER USAOs AND FEDERAL AGENCIES

       Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(E); Local Rules 116.1(c)(1)(A)

and 116.2; and the Supreme Court’s decisions in Brady v. Maryland, 373 U.S. 83 (1963), and

Giglio v. United States, 405 U.S. 150 (1972), Defendants hereby respectfully move for an order

requiring the government to disclose to Defendants any exculpatory and impeachment material in

the possession of the United States Attorney’s Offices and federal agencies that have participated

and assisted in the Massachusetts United States Attorney’s Office’s investigation of Defendants.

The government asserts that it has no such discovery obligation because those USAOs and federal

agencies are “not part of the prosecution team” for purposes of this case. Gov’t Response to

Defendants’ Discovery Letter, Dkt. #296, at 2 (April 24, 2018) (emphasis added).               As

Defendants explain in their accompanying memorandum of law, however, the government’s

position is contrary to the Massachusetts USAO’s prior public statements regarding the

Superseding Indictment, its course of conduct in this matter, and the law.

                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1, Defendants hereby request oral argument on this motion.


Dated: May 21, 2018                                  Respectfully submitted,
       Case 1:16-cr-10343-ADB Document 311 Filed 05/21/18 Page 2 of 4



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                                      -2-
       Case 1:16-cr-10343-ADB Document 311 Filed 05/21/18 Page 3 of 4



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                                             -3-
         Case 1:16-cr-10343-ADB Document 311 Filed 05/21/18 Page 4 of 4



                                 CERTIFICATE OF SERVICE

       I, Aaron M. Katz, hereby certify that a true and correct copy of this document filed through
the ECF system will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-participants on
May 21, 2018.

                                              /s/ Aaron M. Katz


                             LOCAL RULE 7.1 CERTIFICATION

       I, Aaron M. Katz, hereby certify that, prior to filing this motion, Defendants sought the
requested materials via a discovery letter, and the government refused Defendants’ request.

                                              /s/ Aaron M. Katz




                                                -4-
